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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    ANN C. McCLINTOCK, Bar #141313
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorney for Movant-Defendant
     MARVIN LARRY
6
7
8                         IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                             )
11   UNITED STATES OF AMERICA,               ) NO. 1:16-cr-0069 LJO
12                                           )
                  Plaintiff,                 ) ORDER GRANTING MOTION FOR
13                                           ) COMPASSIONATE RELEASE
        v.                                   )
14
                                             )
15   MARVIN LARRY,                           )
                                             )
16                Defendant-Movant.          )
17                                           )

18
             Defendant-Movant MARVIN LARRY has moved for a reduction of
19
20   sentence pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) to time served based on his poor
21   physical health and difficulty taking care of himself in prison as provided under
22
     U.S.S.G. § 1B1.13, commentary Application Note 1A. Docket entry nos. 802,
23
24   822. The government does not oppose this motion. Docket entry no. 829.
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             The Court finds that Mr. Larry’s circumstances satisfy the “extraordinary
26
     and compelling reasons” standard under section 3582(c)(1)(A)(i), as elaborated by
27
28   the Sentencing Commission in U.S.S.G. § 1B1.13.        The Court finds that the
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1    defendant is suffering from serious chronic medical conditions that substantially
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     diminish his ability to provide self-care within the environment of a correctional
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4    facility and from which he is not expected to recover. This Court further finds that

5    the defendant is not a danger to the safety of any other person or to the community
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     and that a reduction of his sentence is consistent with the policy statement set forth
7
8    under 18 U.S .C. § 3582(c)(l)(A).
9              IT IS ORDERED that Mr. Larry’s motion for compassionate release is
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     granted and that his term of imprisonment is hereby reduced to the time he has
11
12   already served.
13
               IT IS FURTHER ORDERED that all other terms and provisions of the
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     original judgment remain in effect. The clerk shall forthwith prepare an amended
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16   judgment reflecting the above reduction in sentence to time served, and shall serve
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     certified copies of the amended judgment on the United States Bureau of Prisons
18
     and the United States Probation Office.
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20   IT IS SO ORDERED.

21        Dated:        October 1, 2019             /s/ Lawrence J. O’Neill _____
22                                          UNITED STATES CHIEF DISTRICT JUDGE

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     UNITED STATES V. LARRY,                                                 [PROPOSED] ORDER
     1:16-cr-0069-018 LJO
